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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                   Case No. 2:23-cr-00599-MCS
12                Plaintiff,                   [PROPOSED] ORDER RE
                                               DEFENDANT’S NOTICE OF MOTION
13          v.                                 AND MOTION FOR LEAVE TO FILE A
                                               SUPPLEMENTAL MEMORANDUM
14 ROBERT HUNTER BIDEN                         AND DECLARATION IN SUPPORT OF
                                               HIS PRETRIAL MOTIONS
15                Defendant.
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       [PROPOSED] ORDER RE DEFENDANT’S MOTION FOR LEAVE TO FILE A SUPPLEMENTAL MEMORANDUM
                         AND DECLARATION IN SUPPORT OF HIS PRETRIAL MOTIONS
                                  CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS Document 66-46 Filed 04/01/24 Page 2 of 2 Page ID #:1867



 1          The Court having considered the Notice of Motion and Motion for Leave submitted
 2 herewith, hereby enters the following Order:
 3          IT IS HEREBY ORDERED that Mr. Biden’s Motion for Leave to File a
 4 Supplemental Memorandum and Declaration in Support of His Pretrial Motions is
 5 GRANTED.
 6          IT IS SO ORDERED.
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 9                                      ________________________________________
      DATE                               THE HONORABLE MARK C. SCARSI
10                                       UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER RE DEFENDANT’S MOTION FOR LEAVE TO FILE A SUPPLEMENTAL MEMORANDUM
                          AND DECLARATION IN SUPPORT OF HIS PRETRIAL MOTIONS
                                   CASE NO. 2:23-CR-00599-MCS-1
